Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25            Page: 1 of 42 PageID #:
                                            23680




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

TNT AMUSEMENTS, INC.,                             )
d/b/a PLAY-MOR COIN-OP,                           )
                                                  )
         Plaintiff,                               )
                                                  )
         v.                                       )           Case No. 4:23-CV-330-JAR
                                                  )
TORCH ELECTRONICS, LLC, et al.,                   )
                                                  )
         Defendants.                              )

                                MEMORANDUM AND ORDER

       This matter is before the Court on the parties’ cross-motions for summary judgment in

this dispute between competitors in the retail amusement device industry. Plaintiff centrally

alleges that Defendants operate illegal slot machines that divert Plaintiff’s customers. Plaintiff

asserts federal and state claims of false advertising and four counts of racketeering. Plaintiff also

seeks a declaration of Missouri state gaming law as applied to the devices in question. For the

reasons set forth below, Plaintiff’s motion for partial summary judgment on its legal claims in

Counts I-VI will be denied. With respect to the declaratory judgment sought in Count VII, the

Court abstains and will dismiss the count. Defendants’ motion for summary judgment will be

denied as to Plaintiff’s false advertising claims and granted as to its RICO claims.

                                         BACKGROUND

       The Parties

       Plaintiff TNT Amusements, a Missouri corporation doing business as Play-Mor Coin-Op,

owns and leases out traditional arcade games and similar amusement equipment (e.g., foosball

and pool tables, dart boards, pinball machines, juke boxes) in retail locations throughout
    Case: 4:23-cv-00330-JAR       Doc. #: 312 Filed: 03/28/25          Page: 2 of 42 PageID #:
                                            23681



Missouri. James Turntine is the President, Chief Executive Officer, and owner of TNT.

         Defendant Torch Electronics is a Missouri limited liability company that leases “no-

chance” gaming machines in retail locations throughout Missouri. Defendant Steven

Miltenberger owns 51% of Torch and serves as its President and Manager. The remaining 49% is

held in trust for the Miltenberger family.

         Missouri’s Regulatory Framework

         Chapter 313 of the Missouri Revised Statutes governs activities regulated by the Missouri

Gaming Commission, such as riverboat gambling, bingo, the state lottery, horse racing, and

fantasy sports. The Commission’s extensive regulatory framework is set forth in 11 C.S.R. 45.

The Commission is part of the Department of Public Safety and consists of five members

appointed by the governor with approval of the state senate. Mo. Rev. Stat. § 313.004. The

Commission issues licenses to businesses and individuals, collects taxes and fees, and enforces

gaming laws in the state. Sections 313.800 to 313.840 govern riverboat gambling. Section

313.805 empowers the Commission to license riverboat casinos, adopt standards of operation,

investigate and sanction violations, and confiscate unauthorized games. If the Commission has

reasonable grounds to believe that a violation of the provisions governing riverboat gambling has

occurred, the Commission refers such matters to the Missouri Attorney General and local

prosecuting attorney. § 313.830.7. In coordination with the Commission, the Gaming Division of

the Missouri State Highway Patrol provides criminal and regulatory enforcement of gaming

operations in the state.1 The Commission views its regulatory authority as limited to licensed

businesses, with the additional ability to provide technical support to law enforcement agencies


1
       Gaming (last visited March 26, 2025). Perma | MSHP Gaming Division [https://perma.cc/YJ7U-
BR6H]. The Court may take judicial notice of government websites. Missourians for Fiscal
Accountability v. Klahr, 830 F.3d 789, 793 (8th Cir. 2016).


                                                 2
    Case: 4:23-cv-00330-JAR        Doc. #: 312 Filed: 03/28/25            Page: 3 of 42 PageID #:
                                             23682



investigating illegal gambling machines located on unlicensed premises. (Doc. 226-22 at 3; Doc.

226-23 at 7, 13; Doc. 242-34 at 32-34, 69).

         Gaming taxes are a considerable source of revenue in Missouri. In addition to standard

income and property taxes, casinos pay a gaming tax of 21% of their adjusted gross revenue.

(Doc. 242-34 at 157). Ten percent of the gaming tax goes to the local jurisdiction, and the

remaining 90% is paid into an education fund. In fiscal year 2024, Missouri casinos contributed

over $357 million to the education fund.2

         Chapter 572 of the Missouri Revised Statutes is the part of the state criminal code that

creates certain offenses and punishments regarding illegal gambling. As relevant here, § 572.010

contains the following definitions.

         (3) "Contest of chance", any contest, game, gaming scheme or gaming device in
         which the outcome depends in a material degree upon an element of chance,
         notwithstanding that the skill of the contestants may also be a factor therein;

         (4) "Gambling", a person engages in gambling when he or she stakes or risks
         something of value upon the outcome of a contest of chance or a future
         contingent event not under his or her control or influence, upon an agreement or
         understanding that he or she will receive something of value in the event of a certain
         outcome. Gambling does not include bona fide business transactions valid under
         the law of contracts, including but not limited to contracts for the purchase or sale
         at a future date of securities or commodities, and agreements to compensate for loss
         caused by the happening of chance, including but not limited to contracts of
         indemnity or guaranty and life, health or accident insurance; nor does gambling
         include playing an amusement device that confers only an immediate right of replay
         not exchangeable for something of value. Gambling does not include any licensed
         activity, or persons participating in such games which are covered by
         sections 313.800 to 313.840;3

         (5) "Gambling device", any device, machine, paraphernalia or equipment that is
         used or usable in the playing phases of any gambling activity, whether that
         activity consists of gambling between persons or gambling by a person with a
         machine. However, lottery tickets, policy slips and other items used in the playing

2
        2024 Missouri Gaming Commission Annual Report 2024 at p. 9 (last visited March 24, 2025).
Perma | Missouri Gaming Commission Annual Report 2024 [https://perma.cc/TL4K-WKF2].
3
         Sections 313.800 to 313.840 govern riverboat gambling.

                                                   3
    Case: 4:23-cv-00330-JAR        Doc. #: 312 Filed: 03/28/25           Page: 4 of 42 PageID #:
                                             23683



         phases of lottery and policy schemes are not gambling devices within this definition
         ...

         (11) "Slot machine", a gambling device that as a result of the insertion of a coin or
         other object operates, either completely automatically or with the aid of some
         physical act by the player, in such a manner that, depending upon elements of
         chance, it may eject something of value. A device so constructed or readily
         adaptable or convertible to such use is no less a slot machine because it is not in
         working order or because some mechanical act of manipulation or repair is required
         to accomplish its adaptation, conversion or workability. Nor is it any less a slot
         machine because apart from its use or adaptability as such it may also sell or
         deliver something of value on a basis other than chance.

§ 572.010 (emphasis added).

         Possession of a gambling device is a Class A misdemeanor, punishable by no more than

one year in prison. § 572.070; § 558.011(6). A person commits the Class A misdemeanor of

promotion of gambling in the second degree when he knowingly profits from unlawful gambling.

§ 572.040. The promotion of gambling in the first degree, involving a gambling device staking

more than $100 in a day or operating any slot machine, is a Class E felony punishable by up to

four years in prison. § 572.030; § 558.011(5). Any building used for unlawful gambling is

considered a public nuisance, which a court may enjoin from occupation for up to one year.

§ 572.090.

         Torch Devices

         Torch markets, distributes, and services “no-chance” game machines throughout

Missouri.4 Torch purchases these devices from Banilla Games in North Carolina. Each device

features at least five game themes, and each theme offers several play levels. A game theme is a

series of visual images displayed to entertain the player, revealing a combination of winning or



4
        The devices are: No Chance Game Suite I Terminal version 2.3.0.23596; No Chance Game Suite
II Terminal version 3.2.0.19403; No Chance Game Suite 3 Terminal version 3.4.0.1; NCG Suite 4
Terminal version 4.2.1.31972; NCG Deluxe Terminal version 5.5.0.17; NCG 5; NCG Deluxe 1; NCG
Deluxe 2; NCG Deluxe 3; NCG Deluxe 4; NCG Dual; NCG Skyriser; and NCG Hot Locks.

                                                  4
    Case: 4:23-cv-00330-JAR         Doc. #: 312 Filed: 03/28/25             Page: 5 of 42 PageID #:
                                              23684



losing symbols on each turn.5 A play level dictates the payment required to play the next turn.

         A Torch Device resembles the machine depicted in this image:6




(Doc. 245-2).

         After much back-and-forth during discovery, the parties’ experts now agree on how

Torch devices operate. (Doc. 300 at 43). The underlying software in all devices is the same. The



5
         Torch device game themes include Lucky’s Loot, Lucky Lollipop, Lucky Striker, Lightning
Strike, Bourbon Street Dice, Fabulous Las Vegas, Searing Sevens, Shammy 7’s, Spooky’s Loot, Wheel
Deal, Arabian Riches, Bathtime Bucks, Party Crashers, Super Keno, Frozen Sevens, Kitty Kash, Major
Ca$h, Oil Rush, St. Patty’s Payday, Box Office, Double Shot, Mega Money Reel, Nut Shack, Piggy Bank
Busy, Silver & Gold Spins, Kiss Me I’m Irish, Sparky’s Firehouse, Ticket to Ride, and Dr. Jekyll & Mr.
Hyde.
6
        The Court provides this visual aid only for general context. Notwithstanding the Torch
Electronics sticker on the machine, Defendants do not admit that this is an actual Torch Device.

                                                    5
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25           Page: 6 of 42 PageID #:
                                            23685



starting point is randomly selected from a database when the device is first placed into service or

when the software reinitiates. (Id. at 35–36). There are 12 possible starting points on each play

level of each game theme. (Doc. 244-4 at 3). So, for a Torch device with six game themes and

five play levels, the starting index would be randomly selected five times in each of the six

themes. (Doc. 300 at 35). From any given starting point, for each turn of play, the software

cycles through pre-determined and finite sequential pools of 60,000 to 100,000 outcomes,

depending on the game theme. (Doc. 239-4 at 5; Doc. 239-7 at 5). A useful analogy would be a

Rolodex of outcomes from 1 to 1000, eventually cycling back to 1. Based on the resulting prize

amount, the device randomly reverse-maps the visual display of numbers and symbols appearing

on the screen. (Doc. 300 at 44–45). As Defendant’s expert summarized to the Court at the last

hearing, “There is a random feature that selects the entry point into a pool, and there is a random

feature that selects the entertaining display based upon the prize value that has been selected

from the pool.” (Id. at 25). There are no discernible patterns within the sequential pools. There is

nothing a player can do to alter the payout amount of a turn before or after the player inserts

money. There is no element of skill. According to Banilla, the intentional distribution of prize

values in each pool is part of the “secret sauce” that makes the games so popular. (Doc. 244-4

at 3).

         The lowest bill denomination a player may insert into a Torch device is $1.00. Torch

devices do not accept quarters, so, if there is a balance of $0.25 when a player decides to stop

playing, there is no way to recover that amount. When a player runs out of sufficient funds for

the next turn, she must insert more money to continue playing. The percentage at which a Torch

device pays out winnings to a player depends on the payout setting in the game: low, medium,

high, or highest. Torch devices are uniformly set to low, yielding a payout of 91- 92% of receipts



                                                 6
    Case: 4:23-cv-00330-JAR        Doc. #: 312 Filed: 03/28/25           Page: 7 of 42 PageID #:
                                             23686



over the life of the machine.7 The highest setting yields a 98% payout. A device set on low uses a

different pool of outcomes than a game set on a higher level.

         Prize Viewer

         Each Torch Device is coded and designed to contain an optional “prize viewer” that

allows the player to preview the next payout amount. The prize viewer reveals only the dollar

amount of the next turn. It does not display the combination of symbols that will appear, nor

does it reveal the outcome of the following turn. So, for example, if a player selects the prize

viewer and sees that the next payout amount is $0 and she wants to obtain a better result, she

must play through that $0 turn and continue playing. She cannot skip ahead. If she wants to

know the payout of the second, third, or any future turn, she must pay for and play through those

additional turns.

         The prize viewer is an optional feature. Not all players use it or use it every time. Using

the prize viewer does not increase the odds of a better payout. Torch devices are configured to

enable the commercial operator to adjust the settings to require a player to pay extra to use the

prize viewer. According to a specialist with the Missouri Gaming Commission, absent the

preview feature, Torch machines “essentially play just like a slot machine.” (Doc. 226-23 at 12).

         The parties dispute whether playing a Torch device constitutes gambling when a player

can know the outcome of the next turn in advance using the prize viewer. TNT contends that the

devices are still “usable” as a gambling device (referring to § 572.010(5)) because, among other

reasons, the prize viewer is optional.




7
        For context only, § 313.805(12) mandates a minimum payout of 80% for gambling devices
regulated by the Missouri Gaming Commission.

                                                   7
Case: 4:23-cv-00330-JAR         Doc. #: 312 Filed: 03/28/25          Page: 8 of 42 PageID #:
                                          23687



       Defendants’ “No Contest/No-Chance” Representations

       In marketing and promoting Torch devices, Defendants represent to customers and

consumers that the devices are not gambling machines. Until September 2022, Torch’s website

asserted the following:

       Torch’s No Chance Game Machines are legal.
       Torch’s No Chance Game Machines are an innovative non-gambling game machine.

       Why are No Chance Game Machines different?
       Under Missouri law, a “gambling device” is defined as having three elements:
       consideration (money in), prize (money out), and chance (unknown outcome).
       Torch’s No Chance Games obviously have the elements of “consideration” and
       “prize”, but have been carefully designed to eliminate the element of “chance”
       (which Missouri law defines as the material component of a gambling device). If
       the player does not like the predetermined outcome, they can choose not to play.
       If they have a balance on the machine, they can redeem their balance at any time.
       The “Prize Viewer” option on NCGs eliminates chance.

(Doc. 245-17). Sometime in mid-September 2022, Torch revised its website to state only this:

       About No Chance Games

       Torch’s No Chance Games are the first of an entirely new entertainment concept;
       a game in which there is no element of chance.
       Importantly, the player may view each and every outcome which may entitle them
       a prize before playing the game. They may simply touch the “Prize Viewer”
       button on the game console and view the result of the game before playing. As
       such, the player can decide if they want to play the game or not based on the pre-
       determined outcome.

(Doc. 245-18).

       Additionally, Defendants affix the following disclaimer to each Torch device:

       The Amusement Device to which this disclaimer is attached provides each player
       of the device with information on the specific outcome of each electronic
       amusement game offered thereon. The information with respect to each such
       outcome is provided prior to such player’s participation in any such game.
       Consequently, this amusement device is designed to provide no contest and no
       chance in the games offered to its players.



                                               8
Case: 4:23-cv-00330-JAR        Doc. #: 312 Filed: 03/28/25          Page: 9 of 42 PageID #:
                                         23688



     Section 572.010(4) of the Missouri revised Statutes defines what constitutes
     “gambling” in the state of Missouri. Chapter 572 of the Missouri Revised Statute
     further has various restrictions on certain activities and equipment related to
     “gambling.” Only those activities that meet the definition of gambling are
     restricted under Chapter 572.

     In Missouri (as in most states), in order to be considered “gambling,” an element
     of chance or a contest must be present in the activity as noted in the highlighted
     section in Missouri’s gambling definition set forth below. Further, in order for the
     device to be considered as a “gambling device,” the device must be designed for
     use in the playing phase of “gambling.” As noted above, this amusement device is
     designed to offer no contest of chance as the outcome is known by players before
     any amusement game is initiated. Therefore, the activity offered by this device
     clearly does not meet the definition of “gambling.” As a result, this amusement
     device does not fit any definition of “gambling device” in the state of Missouri
     and is not prohibited for use by you.
     _______________________________________
     “Gambling”, a person engages in gambling when he or she states or risks
     something of value upon the outcome of a contest of chance or a future contingent
     event not under his or her control or influence, upon an agreement or
     understanding that he or she will receive something of value in the event of a
     certain outcome.




                                              9
Case: 4:23-cv-00330-JAR         Doc. #: 312 Filed: 03/28/25          Page: 10 of 42 PageID #:
                                           23689



       The foregoing disclaimer is affixed to each Torch device in the form of this decal:




(Doc. 245-16).




                                               10
Case: 4:23-cv-00330-JAR         Doc. #: 312 Filed: 03/28/25          Page: 11 of 42 PageID #:
                                           23690



       Defendants also share advertisement flyers with their actual and potential customers

containing representations such as the following depiction:




(Doc. 245-19).

       Defendants have made oral representations to their actual and potential customers that

Torch devices are legal and do not involve an element of chance. (Doc. 239-2 at 56). As such,

Defendants have not taken measures to prevent problem gamblers or gambling addicts from

playing Torch devices, nor have they taken measures to prevent children from playing other than

instructing customers not to allow it. (Doc. 239-2 at 228, 233). Defendants do not have a license

from the Missouri Gaming Commission.




                                               11
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25           Page: 12 of 42 PageID #:
                                            23691



       Competition between the Parties

       The amusement game industry is highly competitive, with finite space available in

existing retail locations. TNT and Torch compete for customers and revenue in the Missouri

market, sharing collections from their machines with their customers typically in a 50/50 split.

At least 20 locations where Defendants operate Torch devices are current or previous customers

of TNT. Defendants have placed at least 130 Torch devices in those overlapping locations. An

electronic gaming specialist with the Missouri Gaming Commission, Cody Hanavan, estimates

that there have been as many as 15,000 Torch devices in Missouri. (Doc. 245-12 at 99).

       TNT’s total net revenues from 2018 through 2022 averaged around $725,000 per year.8

(Doc. 226-26 at 6; Doc. 242-18 at 6). From 2018 through 2023, Torch devices in overlapping

locations alone collected over $32 million, resulting in net receipts of nearly $5.6 million after

payouts to players and revenue-sharing with customers. (Doc. 239 at 17–18; Doc. 109 at 5).

TNT’s custodian of records, Marla Turntine, stated that TNT’s customers have directed TNT to

remove at least 19 machines from overlapping locations in order to make room for Torch

devices. (Doc. 242-17). TNT “move tickets” (i.e., work orders) and internal notes reflect that

Torch machines have replaced TNT machines in some overlapping locations. (Doc. 242-19).

TNT employee Donna Havey testified that Torch devices replaced TNT games in several

locations, sometimes immediately and other times within the next collection cycle. (Doc. 297 at

49).

       TNT internal records indicate that its customer Midwest Petroleum wanted TNT

machines moved out of a game room to make space for Torch machines (Doc. 242-19 at 42).

The store manager explained in deposition that the objective was to move Torch devices from



8
       This figure excludes 2020 due to the COVID-19 pandemic.

                                                 12
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25            Page: 13 of 42 PageID #:
                                            23692



the front of the store where travelers circulate to the back of the store near the truckers’ lounge.

(Doc. 226-6 at 21–22). The manager stated that TNT’s games “were not doing very well,” and

the Torch devices were expected to make more money. (Id. at 19–20). Some TNT machines

remained on site and were moved to other parts of the store. In 2022, the store was acquired by

TA Travel Center, which removed everything to contract with its own vendors. (Id. at 22–23). In

another instance, a Moose Lodge representative testified that a Torch device replaced a TNT

arcade game that “wasn’t making enough money.” (Doc. 297 at 17).

       TNT’s expert estimates that, from 2018 to 2022, Torch substitutions cost TNT

approximately $231,000 in revenue and $134,000 in lost profits. (Doc. 226-26 at 4; 242-18 at 4).

TNT contends that Defendants have engaged in unfair competition by misrepresenting the

legality of its machines. Defendants maintain that their machines are legal, their representations

are accurate, and they have simply prevailed through fair competition in the market. At the same

time, Defendants deny that their devices were the direct cause of TNT’s losses in overlapping

locations. Torch points to one instance where a customer terminated a lease with TNT because

TNT’s representative threatened to alert the Gaming Commission of any illegal machines on the

premises. (Doc. 226-24).

       Missouri’s Legal Landscape

       Over 100 years ago, in City of Moberly v. Deskin, 155 S.W. 842 (Mo. App. 1913), a

Missouri appellate court was asked to determine whether a slot-machine-like gum dispenser was

a gambling device. The machine had a prize preview feature showing in advance what the player

would receive on the next play. Id. at 843. The defendant argued that each turn was a separate

and independent business transaction and there was no chance involved as the player knew in

advance what he would receive for his nickel. Id. at 844. The court rejected this theory, finding



                                                  13
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25             Page: 14 of 42 PageID #:
                                             23693



the defendant’s position “unsound” because the “contrivance” was clearly intended to “allure”

the player into continuing in the hope of a better outcome. Id. at 844–45. Thus, as early as 1913,

Missouri jurisprudence denounced the prize viewer as a cunning attempt to comply with the

letter of the law while doing violence to the spirit and purpose of it. Id. at 844. Deskin is still

good law, cited on other grounds as recently as 1982. Briggs v. Baker, 631 S.W.2d 948, 953 (Mo.

App. W.D. 1982) (discussing the admissibility of an ordinance).

        The state of Missouri legalized riverboat gambling and slot machines in 1994. Mo. Const.

art. III, § 39(e). That same year, the General Assembly established the Missouri Gaming

Commission (§ 313.004) and adopted chapter 572 of the Missouri Revised Statutes governing

gambling activities. Nothing in its definitions abrogated Deskin. § 572.010.

        For the past several years, the parties to this lawsuit and other operators and officials have

contested the legality of Banilla’s “no-chance” prize viewer games. TNT’s owner, Jim Turntine,

has worked with lobbyists and the Missouri Amusement & Machine Operators Association since

2014 to advance legislation explicitly prohibiting the unregulated operation of these types of

devices. (Doc. 226, Ex. 1, 4, 8–11, 16). In 2019, Senate Bill 431 proposed a revised definition of

“gambling device” in § 572.010 to include any machine not approved by the Missouri Gaming

Commission. In 2022, Senate Bill 632 proposed definitions of “gambling device” and “slot

machine” specifically drafted to encompass machines with a preview feature. (Doc. 226-11 at

21-25). Similar versions had been filed in 2020 and 2021. (Doc. 226-10). The General Assembly

has yet to pass any proposed amendments.

        Correspondence in the summary judgment record chronicles that, in January 2017, Torch

obtained a legal opinion from a Chicago law firm concluding that “no chance” gaming devices

were legal under Missouri law. (Doc. 242-37). In May 2018, a Kirksville lawyer for Torch wrote



                                                  14
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25             Page: 15 of 42 PageID #:
                                             23694



to the Adair County prosecutor explaining that Torch devices were legal by virtue of the prize

viewer. (Doc. 226-19 at 5-6). In late 2018, Torch’s owner, Defendant Steven Miltenberger,

personally met with the Phelps County prosecuting attorney, who subsequently informed local

law enforcement that he would not pursue prosecution involving Torch devices. ((Doc. 226-21 at

8; Doc. 245-29). However, around the same time, local officials in Franklin County warned

Miltenberger that the Missouri Gaming Commission deemed the devices illegal and the

prosecutor would “absolutely consider prosecution regardless of Phelps County opinion.”

(Doc. 245-29).

        In 2019, TNT and one of its customers in Phelps County, a VFW post with a bingo

license, sought an advisory opinion from the Missouri Gaming Commission regarding Banilla

prize viewer devices leased by a different distributor. (Doc. 226-2 at 41–42). Upon examination,

the Commission determined that the devices were indeed gambling devices and slot machines as

defined in § 572.010 notwithstanding the prize viewer feature. (Doc. 245-23). The opinion, dated

July 2019 and issued by the Commission’s general counsel, advised that operation of the

machines “would be illegal in violation of sections 572.030, 572.040, and 572.070, RSMo.” (Id.)

Counsel cited consistent determinations in Iowa,9 Wyoming,10 Florida,11 and Ohio,12 and

cautioned the VFW that its possession of the devices would be deemed illegal. “The Missouri

Gaming Commission maintains a zero tolerance for illegal gambling and will take immediate



9
        Banilla Games, Inc. v. Iowa Dep't of Inspections & Appeals, 919 N.W.2d 6 (Iowa 2018).
10
        See Wyoming Attorney General - Formal Opinions, Formal Opinion 2018-002 (Dec. 11, 2018).
Perma | Wyoming Attorney General Formal Opinion 2018-002 [https://perma.cc/55GK-7UXH].
11
        Gator Coin II, Inc. v. Fla. Dep't of Bus. & Pro. Regul., Div. of Alcoholic Beverages & Tobacco,
254 So. 3d 1113 (Fla. Dist. Ct. App. 2018).
12
        The Court did not locate the Ohio advisory opinion referenced in the Commission’s letter but
notes that an Ohio appellate court later reached the same conclusion. See Mayle Bingo Co. v. Ohio Dep't
of Pub. Safety, 152 N.E.3d 1237 (Ohio Ct. App. 2020).

                                                   15
Case: 4:23-cv-00330-JAR            Doc. #: 312 Filed: 03/28/25              Page: 16 of 42 PageID #:
                                              23695



action to revoke the bingo license of any organization that engages in any form of criminal

activity.” (Id.) In advising Torch on a media response about the opinion, Torch’s lawyer

acknowledged the Commission’s position but recommended that Torch maintain its stance that

that “MGC has nothing to say about Torch’s games.” (Doc. 242-33). Later correspondence in the

record reflects that, in June 2023, Defendants were denied a business license in Branson (Taney

County) based on the Gaming Commission’s position that Torch devices are illegal. (Doc. 245-

30).

        In April 2019, a Platte County prosecutor charged a business with a class E felony for

operating slot machines in local convenience stores.13 The machines in question were Banilla

“no chance” prize viewer devices. The parties’ pre-trial briefs focused specifically on whether

the devices fell within § 572.010. The court held a bench trial during which the Gaming

Commission’s specialist, Cody Hanavan, testified for the prosecution. The court rendered a

guilty verdict in December 2020. No appeal was taken. Reflecting the statewide interest in this

case, the post-trial docket sheet contains several requests for transcripts and records sought by

other prosecutors and law firms, the latest dated August 2024.

        In December 2019, the Brookfield police filed a probable cause statement against Torch

in Linn County alleging the presence of illegal slot machines at a local convenience store.

(Doc. 226-20). According to Defendant Miltenberger, the case was dismissed at the probable

cause hearing and the machines were returned. (Doc. 226-21 at 6).



13
        State v. Integrity Vending, Case No. 19AE-CR00948-01, filed April 30, 2019, 6th Judicial Circuit
of Missouri (Platte County); see also Doc. 245-15; Guilty verdict puts halt to Parkville gambling
operation — The Platte County Citizen (last visited March 24, 2025) Perma | Guilty verdict puts halt to
Parkville gambling operation — The Platte County Citizen [https://perma.cc/HP3Q-3U4F].
        The Court takes judicial notice of multiple state court cases available on the public record through
Missouri CaseNet. Nationwide Mut. Ins. Co. v. Richardson, 108 F.4th 673, 677 n.2 (8th Cir. 2024)
(noting that the court may take judicial notice of public records).

                                                    16
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25            Page: 17 of 42 PageID #:
                                             23696



        In November 2020, a Henry County prosecutor filed a suit in equity against Clinton

Convenience and its owners seeking to shutter the store as an illegal gambling house.14 The

defendants answered in March 2021, after which the case lay dormant until December 2024,

when a new prosecutor entered her appearance. That case remains pending. In a related case filed

in December 2020, the Henry County prosecutor filed a criminal complaint against the owner of

the Clinton Convenience store.15 The issue of the legality of the Torch devices was presented to

the court at the probable cause stage in the spring of 2022, and the court found probable cause to

support a criminal information.16 That case was continued repeatedly and dismissed in December

2024.

        Also in November 2020, a Franklin County prosecutor filed a criminal information

against the operator of a Phillips 66 on three misdemeanor counts of possession of gambling

devices, in violation of § 572.070.17 That case, too, has been continued repeatedly. Most

recently, the defendant filed a motion to appoint a special prosecutor in November 2024 and then

withdrew the motion in February 2025.

        In early 2021, the Missouri Highway Patrol seized Torch devices from several

convenience stores on the basis that the machines were illegal gambling devices. Torch

responded with a state court lawsuit, filed in Cole County, against the Missouri Department of

Public Safety and Highway Patrol seeking a declaration that its devices are not illegal gambling




14
       State ex rel. Shields v. Ranza Inc., Case No. 20HE-CC00064, 27th Judicial Circuit of Missouri
(Henry County), filed Nov. 18, 2020.
15
        State v. Hussain, Case No. 20HE-CR00629, 27th Judicial Circuit of Missouri (Henry County).
16
        State v. Hussain, Case No. 20HE-CR00629-01, 27th Judicial Circuit of Missouri (Henry County).
17
        State v. McNutt, Case No. 20AB-CR03465, 20th Judicial Circuit of Missouri (Franklin County),
filed Nov. 16, 2020.

                                                  17
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25           Page: 18 of 42 PageID #:
                                            23697



devices and an injunction preventing the Highway Patrol from seizing them.18 The Missouri

Gaming Association, whose members are casinos licensed by the Missouri Gaming Commission,

intervened and filed a counterclaim seeking a declaration that the devices are indeed gambling

devices and an injunction preventing Torch from operating them.

       Discovery in that case reflects that Torch machines were seized in Branson in 2019, West

Sullivan in 2020, and St. Clair County in 2021. (Doc. 242-34 at 14–16, 94–95). Gaming

Commission representatives inspected the machines and sent their reports to law enforcement. In

a deposition in July 2023, the Commission’s Deputy Director confirmed that the Commission’s

position on no-chance devices had not changed since the July 2019 opinion letter. (Doc. 242-34

at 34–36, 108). Referring to the devices as “gray market” machines, he said that they “are not

legal in the state of Missouri.” (Doc. 242-34 at 53). He also confirmed that Defendant

Miltenberger is on a list of known suppliers of illegal gaming devices. (Doc. 242-34 at 110-111).

The deputy explained, however, that the Commission had not taken any action against Torch

because, as a non-licensed entity, “they don’t fall under our purview.” (Doc. 242-34 at 34).

       In that same deposition, the Commission’s gaming specialist, Cody Hanavan, confirmed

that, with 75,000 to 100,000 outcomes per game, multiplied by each play level and game theme,

the number of predetermined finite outcomes could be three million, and the player has no way

of knowing where the game will land in the pool. (Doc. 242-34 at 116–17). In their field

investigations, Commission representatives observed consumers playing Torch devices like slot

machines without using the prize viewers. (Doc. 242-34 at 127–28).




18
       Torch Elecs., LLC v. Mo. Dep’t of Pub. Safety, Case No. 21AC-CC00044, 19th Judicial Circuit of
Missouri (Cole County), aff’d, 694 S.W.3d 548, 556 (Mo. App. W.D. 2024), transfer denied (Sept. 3,
2024).

                                                 18
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25          Page: 19 of 42 PageID #:
                                             23698



        In October 2023, the Cole County circuit court dismissed all claims in that case,

reasoning that Missouri’s declaratory judgment act was not a proper vehicle for construing a

state criminal statute (§ 572.010) without a constitutional question. In May 2024, the Missouri

Court of Appeals affirmed, explaining, “Missouri courts do not provide equitable relief that

interferes with the enforcement of criminal law absent a challenge to the law’s constitutionality

or validity.” Torch Elecs., LLC v. Mo. Dep’t of Pub. Safety, 694 S.W.3d 548, 556 (Mo. App.

W.D. 2024), transfer denied (Sept. 3, 2024). The court thus did not opine on the legality of

Torch devices.

        In November 2019, TNT filed suit against Torch and Midwest Petroleum in Crawford

County seeking a declaratory judgment that the defendants were operating illegal devices at a

Midwest Travel Plaza.19 The petition also claimed that Torch had interfered with TNT’s business

expectation by convincing Midwest to replace TNT games with Torch devices. That case was

transferred to St. Louis County in March 2020 and apparently stalled there, perhaps due in part to

the COVID-19 pandemic.20 TNT voluntarily dismissed the case in March 2023 concurrent with

its filing of the instant complaint in federal court.

        However, in January 2020, TNT’s owner, James Turntine, also filed a taxpayer derivative

lawsuit in Crawford County against Torch, Midwest Petroleum, and the county itself, seeking a

declaration that Torch and Midwest failed to pay (and the county failed to collect) taxes owed on

revenues from Torch’s illegal gambling and slot machine devices.21 That case was transferred to



19
       TNT Amusements, Inc. v. Torch Elecs., LLC, Case No. 19CF-CC00065, 42nd Judicial Circuit of
Missouri (Crawford County), filed Nov. 26, 2019.
20
       TNT Amusements, Inc. v. Torch Elecs., LLC, Case No. 20SL-CC03002, 21st Judicial Circuit of
Missouri (St. Louis County), dismissed March 20, 2023.
21
       Turntine v. Torch Elecs., LLC, Case No. 20CF-CC00007, 42nd Judicial Circuit of Missouri
(Crawford County), filed Jan. 29, 2020.

                                                   19
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25              Page: 20 of 42 PageID #:
                                             23699



St. Louis County in June 2020.22 In September 2021, the court denied a motion to dismiss

challenging Turntine’s standing. From March to November 2023, the case was stayed pending

resolution of the Cole County case. Since then, it has been continued repeatedly due to the

pendency of this federal case, with the next status conference set for April 2025.

        In March 2023, several individuals who lost money playing Torch devices sued Torch in

federal court asserting claims under RICO and the Missouri Merchandising Practices Act,

alleging that the devices are illegal, rigged, and poorly regulated. Romano v. Torch Elecs., LLC,

No. 2:23-CV-04043-BCW, 2023 WL 9064602, at *1–3 (W.D. Mo. Aug. 21, 2023). Referring to

the devices as slot machines, the court dismissed the RICO claim for lack of standing, reasoning

that the proximate cause of the plaintiffs’ injury was their own gambling. Id. at *4

        In February 2024, the City of Springfield passed a municipal ordinance prohibiting the

operation and use of entertainment devices offering monetary prizes.23 Within days, the city

issued citations to local convenience stores and confiscated several Torch devices. Torch swiftly

filed a petition in Greene County challenging the validity of the ordinance and seeking

declaratory and injunctive relief and then filed a second action for replevin in August 2024.24

Torch dismissed the first case in February 2025, opting to litigate in administrative proceedings

and municipal court. The second case remains pending.




22
       Turntine v. Torch Elecs., LLC., Case No. 20SL-CC03000, 21st Judicial Circuit of Missouri (St.
Louis County), filed June 2, 2020
23
        Springfield, Mo., Code of Ordinances, Ch. 78, Art. I, § 78-10 (2024).
24
       Torch Elecs., LLC v. City of Springfield, Case No. 2431-CC00242, 31st Judicial Circuit of
Missouri (Greene County), filed Feb. 2, 2024; Torch Elecs., LLC v. City of Springfield, Case No. 2431-
CC01027 31st Judicial Circuit of Missouri (Greene County), filed Aug. 29, 2024.

                                                   20
Case: 4:23-cv-00330-JAR         Doc. #: 312 Filed: 03/28/25          Page: 21 of 42 PageID #:
                                           23700



       Procedural History

       TNT filed its federal complaint in March 2023 asserting claims of unfair competition

under the Lanham Act (Count I); unfair competition under Missouri common law (Count II); and

civil violations of the Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C.

§§ 1961–1968, related to conduct of a criminal enterprise under 18 U.S.C. § 1962(c) (Count III);

use of proceeds of a criminal enterprise under RICO (Count IV); control of criminal enterprise

under RICO (Count V); and conspiracy to commit those RICO violations (Count VI). TNT also

seeks a declaratory judgment that Defendants’ devices are slot machines and illegal gambling

devices under § 572.010 (Count VII). TNT seeks monetary damages for its loss of business to

Defendants and an injunction to stop Defendants’ ongoing activities. In April 2023, TNT filed a

motion for preliminary injunction. (Doc. 15). After a hearing on the motion and further briefing,

in August 2023 the Court consolidated preliminary injunction proceedings with the trial on the

merits as permitted by Rule 65(a)(2), Fed. R. Civ. P. (Doc. 38).

       The parties filed their original motions for summary judgment in January 2024. (Doc. 81

and 83). However, due to numerous discovery disputes and some confusion regarding the data

drives reviewed by the parties’ expert witnesses, expert discovery extended into May 2024,

yielding new information raised in the parties’ Daubert motions. Consequently, after a status

conference with counsel, the Court denied the parties’ original summary judgment and Daubert

motions as moot (Doc. 218) and issued a revised case management order, pursuant to which the

parties filed renewed motions in August 2024. (Doc. 223). The Court has since resolved the

Daubert motions (Doc. 310, 311) and now addresses the parties’ respective motions for

summary judgment and related pending matters.




                                                21
Case: 4:23-cv-00330-JAR            Doc. #: 312 Filed: 03/28/25             Page: 22 of 42 PageID #:
                                              23701



        TNT asks the Court to grant partial summary judgment in its favor, both as to

Defendants’ liability on Counts I-VI and as to the declaratory and injunctive relief requested in

Count VII. TNT reserves for a jury the questions of damages and the disgorgement of

Defendants’ profits. Defendants seek summary judgment on the entirety of TNT’s complaint,

principally asserting that TNT has failed to create a triable issue on causation. Defendants argue

that TNT’s losses could be attributable to any number of market forces. Defendants also submit

that their “no-chance” representation is a statement of opinion and not fact for purposes of

Lanham Act liability. Hearings were held on July 11 and September 26, 2024.25 The Court has

reviewed the pleadings and extensive memoranda of law and exhibits submitted by the parties.

                                        LEGAL STANDARD

        “Summary judgment is proper where the evidence, when viewed in a light most favorable

to the nonmoving party, indicates that no genuine issue of material fact exists and that the

moving party is entitled to judgment as a matter of law.” Davison v. City of Minneapolis, 490

F.3d 648, 654 (8th Cir. 2007); Fed. R. Civ. P. 56(a). Summary judgment is not appropriate if

there are factual disputes that may affect the outcome of the case under the applicable

substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute of

material fact is genuine if the evidence would allow a reasonable jury to return a verdict for the

nonmoving party. Id. “The basic inquiry is whether . . . it is so one-sided that one party must




25
         TNT subpoenaed Kathy Biles, administrator of the Moose Lodge in Owensville, to testify at the
hearing on September 26. Torch objected and filed a motion for sanctions (Doc. 282) because TNT had
not previously disclosed Biles as a potential witness. In response (Doc. 289), TNT explained that Biles
had been disclosed as a customer in October 2023 but only became relevant as a witness in early 2024,
after the close of discovery, when TNT learned that its devices had been replaced by Torch devices at that
location. TNT also argued that it was entitled to update its evidence for purposes of the hearing and,
further, Torch failed to meet and confer before filing its motion. The Court addressed this matter on the
record and allowed Biles to testify, finding no prejudice to Torch. (Doc. 297 at 12). Torch’s motion for
sanctions will be denied.

                                                   22
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25            Page: 23 of 42 PageID #:
                                            23702



prevail as a matter of law.” Diesel Machinery, Inc. v. B.R. Lee Indus., Inc., 418 F.3d 820, 832

(8th Cir. 2005). The moving party has the initial burden of demonstrating the absence of a

genuine issue of material fact. Torgerson v. City of Rochester, 643 F.3d 1031, 1042 (8th Cir.

2011) (en banc). Once the moving party has met its burden, “[t]he nonmovant must do more than

simply show that there is some metaphysical doubt as to the material facts, and must come

forward with specific facts showing that there is a genuine issue for trial.” Id.

       To survive a motion for summary judgment, the “nonmoving party must ‘substantiate

[its] allegations with sufficient probative evidence [that] would permit a finding in [its] favor

based on more than mere speculation, conjecture, or fantasy.’” Putman v. Unity Health Sys., 348

F.3d 732, 733–34 (8th Cir. 2003) (quoting Wilson v. Int’l Bus. Machs. Corp., 62 F.3d 237, 241

(8th Cir. 1995)). “Simply referencing the complaint, or alleging that a fact is otherwise, is

insufficient to show there is a genuine issue for trial.” Kountze ex rel. Hitchcock Found. v.

Gaines, 536 F.3d 813, 818 (8th Cir. 2008). “The mere existence of a scintilla of evidence in

support of the [nonmoving party’s] position will be insufficient; there must be evidence on which

the jury could reasonably find for the [nonmovant].” Anderson, 477 U.S. at 252; see also

Davidson & Assocs. v. Jung, 422 F.3d 630, 638 (8th Cir. 2005).

                                           DISCUSSION

       Lanham Act (Count I)

       The Lanham Act protects persons engaged in commerce against false advertising and

unfair competition. See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 767–68 (1992)

(citing 15 U.S.C. § 1127). The Act prohibits commercial advertising or promotion that

misrepresents the nature, characteristics, or qualities of the advertiser’s services or commercial

activities. Rhone–Poulenc Rorer Pharm., Inc. v. Marion Merrell Dow, Inc., 93 F.3d 511, 514



                                                 23
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25             Page: 24 of 42 PageID #:
                                             23703



(8th Cir. 1996) (citing 15 U.S.C. § 1125(a)(1)(B)).

        To establish a Lanham Act false advertising claim, a plaintiff must prove “(1) a false

statement of fact by the defendant in a commercial advertisement about its own or another's

product; (2) the statement actually deceived or has the tendency to deceive a substantial segment

of its audience; (3) the deception is material, in that it is likely to influence the purchasing

decision; (4) the defendant caused its false statement to enter interstate commerce; and (5) the

plaintiff has been or is likely to be injured as a result of the false statement, either by direct

diversion of sales from itself to defendant or by a loss of goodwill associated with its products.”

Buetow v. A.L.S. Enters., Inc., 650 F.3d 1178, 1182–83 (8th Cir. 2011) (quoting United Indus.

Corp. v. Clorox Co., 140 F.3d 1175, 1180 (8th Cir. 1998)).

        Standing

        As a threshold matter, Defendants assert that TNT lacks standing to invoke the Court’s

jurisdiction to entertain its claims. Standing requires that (1) the plaintiff suffered an injury in

fact, (2) there exists a causal relationship between the injury and the defendant’s conduct, and (3)

a favorable decision by the court will redress the alleged injury. Missouri v. Trump, 128 F.4th

979, 989 (8th Cir. 2025). “The plaintiff must have suffered . . . a concrete and particularized

‘injury in fact’ that is fairly traceable to the challenged action of the defendant and likely to be

redressed by a favorable judicial decision.” Lexmark Int’l, Inc. v. Static Control Components,

Inc., 572 U.S. 118, 125 (2014). In a Lanham Act context, a plaintiff must show economic injury,

such as lost sales, flowing from the defendant’s deceptive advertising. Id. at 125, 133. A classic

Lanham Act false advertising claim exists when a competitor injures another by making false

statements that induce customers to switch. Id. at 137. Diversion of sales is “the paradigmatic

direct injury from false advertising.” Id. at 138. “A plaintiff may establish an injury ‘by creating



                                                   24
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25            Page: 25 of 42 PageID #:
                                            23704



a chain of inferences showing how defendant’s false advertising could harm plaintiff’s business.

. . . Evidence of direct competition is strong proof’ of injury in fact.” Corizon, Inc. v. Wexford

Health Sources, Inc., No. 4:10 CV 2430 DDN, 2013 WL 3821268, at *4 (E.D. Mo. July 23,

2013) (quoting TrafficSchool.com, Inc. v. Edriver Inc., 653 F.3d 820, 825–26 (9th Cir. 2011)).

       With respect to the burden of proof, a plaintiff must support each element of standing

“with the manner and degree of evidence required at the successive stages of the litigation.”

Murthy v. Missouri, 603 U.S. 43, 58 (2024). Thus, where the parties have taken discovery, the

plaintiff cannot rest on mere allegations but must instead point to factual evidence. Id.

       The parties agree that they are competitors in the amusement device industry. And there

is no dispute that Torch represents to potential customers and consumers that its devices are

legal. But Torch argues that TNT’s alleged injuries (i.e., lost revenues) are speculative and have

no causal connection to Torch.

       To show actual injury, TNT offers the report of damages expert Robert Kneuper, who

reviewed TNT’s collections from locations where its devices were replaced by Torch devices

and estimated that TNT lost $231,190 in lost revenues and $134,090 in lost profits between 2018

and 2022 at those locations. (Doc. 242-18 at 4). These figures logically did not include any lost

opportunities with potential new customers, future lost profits, or a reduction in the value of

TNT’s business as a going concern. (Id.). Kneuper clarified that his role was limited to a

preliminary estimate of historical lost profits, assuming TNT proves Torch’s liability. (Id. at 3).

       To show a causal connection, TNT offers its business records and the testimony of

several witnesses. At a hearing on September 26, 2024, TNT’s operations manager, Donna

Havey, testified about the company’s internal “move tickets” and related notes reflecting the

displacement of TNT machines by Torch devices in several overlapping locations. (Doc. 242-



                                                 25
Case: 4:23-cv-00330-JAR         Doc. #: 312 Filed: 03/28/25          Page: 26 of 42 PageID #:
                                           23705



19). She confirmed that she had personally visited customer locations where TNT machines were

replaced with Torch devices either immediately or within the next collection cycle. (Doc. 297 at

35–49). Many customers have asked her if TNT offers products similar to Torch games. (Doc.

297 at 35–36). TNT serviced 141 customer locations when Torch entered the market in 2017 and

had lost 44 of those locations by 2023. (Doc. 297 at 52). The manager of a Moose Lodge, Kathy

Biles, testified that a TNT Pac-Man was replaced by a Torch device at her location. (Doc. 297 at

18). Similarly, a manager of Midwest Petroleum, Tracy Head, stated in deposition that TNT

games were displaced to make room for Torch devices at that location. (Doc. 226-6 at 19–22).

TNT’s owner, Jim Turntine, testified that the company had lost customers because they “just

can’t compete with the people that are operating the slot machines,” which earn far more money

than amusement devices. (Doc. 297 at 78). Referring to a spreadsheet of customers, Turntine

gave the example of Slinger’s in Hot Springs where TNT “lost everything … so they could put

the slot machines in.” (Id.).

       Disputing the foregoing evidence, Torch points to witness testimony suggesting other

explanations why customers removed TNT devices. For example, Turntine acknowledged on

cross-examination that there could be other reasons. (Doc. 297 at 86). He conceded that one

customer simply wanted newer equipment. (Id. at 78). Customer Biles stated that the Pac-Man at

the Moose Lodge could have been moved to a different spot, but it was not making enough

money. (Id. at 17–19). Similarly, customer Head stated that TNT’s devices at Midwest

Petroleum were not making enough money, and some were moved to another part of the store

before being eliminated due to a change in ownership. (Doc. 226-6 at 19–23).

       While Torch disclaims any responsibility for TNT’s lost revenues, Torch simultaneously

implies that it simply bests TNT in fair competition by providing a superior product. This ignores



                                               26
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25             Page: 27 of 42 PageID #:
                                             23706



TNT’s central premise that Torch’s competition is unfair because its illegal machines entice

consumer dollars away from TNT’s traditional games. TNT claims that it no longer generates

enough revenue in overlapping locations precisely because of Torch’s misrepresentations about

the legality of its devices. Torch’s factual dispute to the contrary is misplaced here. By

attempting to litigate the evidence relevant to causation in a light most favorable to itself, Torch

disregards the proper standard for summary judgment, let alone the threshold issue of standing.

        The Court has reviewed Kneuper’s expert report and related spreadsheets, TNT’s move

tickets and corresponding notes, and the witnesses’ full testimony. TNT’s revenue losses appear

to be “fairly traceable” to Defendants’ challenged conduct. Lexmark, 572 U.S. at 125. Taking the

testimony and other evidence in context, as a whole, and in a light most favorable to TNT, the

Court finds that TNT has readily established its standing here.

        Merits

        A plaintiff can prove that advertising is false by showing that it contains a statement that

is “literally false” or a statement that, while literally true, implicitly conveys a false message, is

misleading, or is likely to deceive consumers. United Indus., 140 F.3d at 1180. The standard for

proving literal falsity is rigorous. “[O]nly an unambiguous message can be literally false.” Time

Warner Cable, Inc. v. DIRECTV, Inc., 497 F.3d 144, 158 (2d Cir. 2007). Lanham Act false

advertising cases invariably involve claims asserted by “competitors of the wrongdoer” or by

plaintiffs protecting other commercial interests. See Am. Ass'n of Orthodontists v. Yellow Book

USA, Inc., 434 F.3d 1100, 1103–04 (8th Cir. 2006).

        Missouri law defines a “contest of chance” to include any “gaming device in which the

outcome depends in a material degree upon an element of chance.” § 572.010(3). Until

September 2022, Torch represented on its website that its machines were legal in Missouri



                                                   27
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25            Page: 28 of 42 PageID #:
                                             23707



because the prize viewer option eliminates chance. (Doc. 245-17). Each Torch device is labeled

with a lengthy disclaimer stating in part:

        [T]his amusement device is designed to offer no contest of chance as the outcome
       is known by players before any amusement game is initiated. Therefore, the
       activity offered by this device clearly does not meet the definition of “gambling.”
       As a result, this amusement device does not fit any definition of “gambling
       device” in the state of Missouri and is not prohibited for use by you.

(Doc. 245-16). Additionally, Torch advertising materials state that “chance has absolutely no

role in any possible outcome.” (Doc. 245-19 at 2).

       TNT centrally contends that Defendants’ “no-chance” representations and assurances of

legality of Torch devices are literally false statements of fact. Defendants counter that these

representations are opinion statements not actionable under the Lanham Act.

       Defendants rely on Dial A Car, Inc. v. Transportation, Inc., 82 F.3d 484 (D.C. Cir. 1996),

where two taxicab companies made representations of their authority to provide corporate

services in the District of Columbia using cars not licensed there. The parties disputed the

interpretation of a Taxicab Commission administrative order on the subject, which had not been

tested. Id. at 486. In response to the defendants’ motion to dismiss, the plaintiff presented a

declaration of the commission’s general counsel opining that the order applied to the defendants.

Id. The court refused to consider it and dismissed the complaint, reasoning that the commission

had not yet resolved the question at the time of the defendants’ statements. Id. The D.C. Circuit

affirmed, holding, “there must be a clear and unambiguous statement from the Taxicab

Commission” such that “the law was unambiguous at the time [the] alleged misstatements were

made.” Id. at 489.

       Similarly, in Coastal Abstract Service, Inc. v. First American Title Insurance. Co., 173

F.3d 725 (9th Cir. 1999), the statement at issue involved whether an escrow agent was required

to be licensed in California pursuant to a state statute. Id. at 731. At the time of the statement,

                                                  28
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25            Page: 29 of 42 PageID #:
                                            23708



there was no clear authority on the question. The Ninth Circuit thus held that the statement was

not actionable because the correct application of the statute was not knowable to the parties at the

time. Id. at 732. The court instructed, “[a]bsent a clear and unambiguous ruling from a court or

agency of competent jurisdiction, statements by laypersons that purport to interpret the meaning

of a statute or regulation are opinion statements, and not statements of fact.” Id. at 731.

       Though the Eighth Circuit has not directly opined on the issue, it has quoted Coastal

Abstract for the general proposition that, to be actionable, the statement must be a “specific and

measurable claim, capable of being proved false or of being reasonably interpreted as a statement

of objective fact” and not merely opinion. Am. Italian Pasta Co. v. New World Pasta Co., 371

F.3d 387, 391 (8th Cir. 2004) (quoting 173 F.3d at 731).

       As relevant to the present case, the Court also finds instructive ThermoLife International,

LLC v. Gaspari Nutrition Inc., 648 Fed. Appx. 609 (9th Cir. 2016). There, the defendant

advertised its products as “legal” and “DSHEA-compliant”26 when the record contained

numerous emails reflecting the defendant’s knowledge to the contrary. Id. at 614–15. The Ninth

Circuit thus found a triable issue of falsity and reversed summary judgment. Id.

       In this District, the Court has recognized a viable Lanham Act claim where a defendant

represented that its product was compliant with EPA regulations when technically it was not.

Dental Recycling N. Am., Inc. v. Stoma Ventures, LLC, No. 4:23 CV 670 CDP, 2023 WL

6389071, at *5 (E.D. Mo. Oct. 2, 2023). Citing ThermoLife, the Court reasoned, “an opinion by a

speaker who lacks a good faith belief in the truth of the statement is actionable.” Id. (quoting

648 Fed. Appx. at 614–15).




26
       DSHEA refers to the Dietary Supplement Health Education Act.

                                                 29
Case: 4:23-cv-00330-JAR            Doc. #: 312 Filed: 03/28/25             Page: 30 of 42 PageID #:
                                              23709



        Applying the foregoing principles here, this Court finds the evidence sufficient to

withstand summary judgment on TNT’s claims of false advertising and unfair competition. The

representations on Torch’s website and devices are clearly intended to be “reasonably interpreted

as a statement of objective fact” and not merely opinion. Am. Italian Pasta, 371 F.3d at 391.

Again, § 572.010(3) requires only “an element of chance.” After some confusion and

clarification from the parties’ experts, it is now undisputed that Torch devices contain random

entry points at each play level in each game theme, starting the sequences of up to 100,000

outcomes in each pool. According to the Gaming Commission’s specialist, Cody Hanavan, there

could be as many as three million potential outcomes.27 (Doc. 242-34 at 116). This evidence

reveals a material degree of chance such that a jury could find literally false Defendants’

unambiguous representation that “chance has absolutely no role.” Moreover, section 572.010(11)

states that a slot machine is no less a slot machine when it delivers something of value on a basis

other than chance – e.g., large sequential pools.28

        Century-old Missouri precedent holds that a slot machine with a prize preview feature is

still a slot machine. Deskin, 155 S.W. at 844–45. In attempt to discount this longstanding

precedent last cited in 1982, Defendants argue that the state of Missouri has long since embraced

gambling, so the Court should ignore this antiquated instruction. But the state of Missouri has




27
        To wit, as the Court understands it, five game themes multiplied by six play levels in each theme
equals 30 entry points. Thirty entry points multiplied by 100,000 sequential outcomes in each pool yields
three million possibilities.
28
         The Court fails to discern a meaningful difference between random shuffles and random-entry-
point 100,000-outcome pools yielding three million possibilities. The Court can think of no rationale to
assume that the Missouri General Assembly intended to regulate machines employing one technology but
not the other. See Thole v. Westfall, 682 S.W.2d 33, 37 (Mo. App. E.D. 1984) (“In the slot machine
games, the objects that appear on the screen are determined by the devices’ electronic circuitry and the
player has no control over which combination of objects will appear. Thus, from the player’s point of
view, winning is purely a matter of luck, a matter of chance.”).

                                                   30
Case: 4:23-cv-00330-JAR            Doc. #: 312 Filed: 03/28/25             Page: 31 of 42 PageID #:
                                              23710



sanctioned gambling in the last half-century only as strictly regulated by the Missouri Gaming

Commission and heavily taxed for the benefit of the public pursuant to Missouri law. Nothing in

Missouri’s statutory scheme abrogates Deskin, and appellate courts in other states have adopted a

similar intolerance of prize preview features purporting to evade gambling regulations.29 As

recently as 2023, a federal court in Missouri characterized Torch devices as slot machines and a

form of gambling, albeit in dicta. Romano 2023 WL 9064602, at *1–3. Based on these

authorities, along with the firm opinion of the Missouri Gaming Commission, a jury could find

literally false Defendants’ unambiguous representation that the prize viewer exempts Torch

devices from the definition of a slot machine.

        Additionally, “[i]n assessing whether an advertisement is literally false, a court must

analyze the message conveyed within its full context.” United Indus., 140 F.3d at 1180. Here, the

full context establishes Torch’s actual knowledge that its legal assurances were false, or at least

patently misleading. A police sergeant in Union advised Defendant Miltenberger in October

2018 that the Gaming Commission “has not changed their opinion on the status of your games”

and the Franklin County prosecutor would “absolutely consider prosecution.” (Doc. 245-29).

Miltenberger was advised that any games operating in Union would result in prosecution of

game and store owners for the promotion of gambling. (Id.). In April 2019, criminal charges

were filed in Platte County against a convenience store owner operating Banilla “no chance”

prize viewer devices. The defendant was convicted after a bench trial in September 2020. Other



29
         See e.g., Mayle Bingo Co., 152 N.E.3d at 1242–43 (reasoning that a preview does not eliminate a
hope for gain in subsequent turns); Gator Coin II, Inc., 254 So. 3d at 1118 (reasoning that the previewed
outcome is unpredictable to the user and the statute does not require each game to be analyzed in
isolation); Gracie Techs., Inc. v. Commonwealth, No. 627 C.D. 2019, 2020 WL 1231395, at *2 (Pa.
Commw. Ct. Mar. 13, 2020) (affirming the trial court’s finding that machines using a prize viewer, with
prizes pulled from a pre-determined, sequential, and finite pool of outcomes, were gambling devices).


                                                   31
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25            Page: 32 of 42 PageID #:
                                             23711



criminal charges have been filed in Henry and Franklin Counties, the latter still pending. The

Gaming Commission’s advisory opinion of July 2019 provides unambiguous evidence of its

regulatory position with respect to “no chance” prize viewer devices. In June 2023, Defendants

were denied a business license in Branson (Taney County) based on the Gaming Commission’s

position that Torch devices are illegal. (Doc. 245-30). In February 2024, Torch devices were

confiscated in Springfield. In July 2023, the Commission’s Deputy Director testified in the Cole

County case that the Commission continued to maintain the position that no-chance devices are

illegal, as stated in the July 2019 opinion letter. (Doc. 242-34 at 36, 108). He said that Defendant

Miltenberger is on a list of known suppliers of illegal gaming devices. (Id. at 110-111).

       Unlike Coastal Abstract and Dial A Car, where no clear guidance existed at the time of

the statements, Defendants have been well aware since 2018 that the Missouri Gaming

Commission, state and local law enforcement,30 numerous county prosecutors, and at least one

state circuit court have deemed Torch devices illegal under Missouri law. After a bench trial in

2020, the presiding judge of Platte County found a store owner guilty of promoting gambling for

operating Banilla “no-chance” gaming machines. Even absent appellate review, this is a “clear

and unambiguous ruling from a court … of competent jurisdiction.” Coastal Abstract, 173 F.3d

at 731. The Gaming Commission’s 2019 opinion is an equally clear declaration by the competent

agency. Id. On this record, Defendants cannot credibly claim that their unambiguous

representations of legality – asserted as unequivocal fact on the website and on each device –

were mere lay opinions lacking the benefit of clarity from a court or agency. Defendants’ efforts



30
        The Missouri Court of Appeals has held that testimony by a qualified law enforcement officer
constitutes sufficient evidence to support a finding that gaming devices are illegal gambling machines.
Veterans of Foreign Wars Post 6477 v. Missouri Gaming Comm'n, 260 S.W.3d 388, 392 (Mo. App. W.D.
2008).


                                                  32
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25           Page: 33 of 42 PageID #:
                                            23712



to obscure the issue do not make the Commission’s position, law enforcement’s warnings, or a

state court judgment any less clear.

       Even short of literal falsity, a jury could readily find that Defendants’ assurances of

legality convey a false message, are misleading, or are likely to deceive customers and

consumers, especially given that law enforcement officials explicitly warned Defendants that

their customers would be prosecuted for operating the devices. (Doc. 245-29). Torch was so

acutely aware of this real risk that it offered to fund customers’ legal defense. (Doc. 242-25 at

83–84). This belies good faith and at least creates a triable issue as to Defendants’ knowledge.

       In contrast to the facts in Dial A Car and Coastal Abstract, and consistent with the Ninth

Circuit’s opinion in ThermoLife and this District’s ruling in Dental Recycling, the Court finds

ample evidence in the record to create a jury question as to the false and/or misleading nature of

Defendants’ statements. See ThermoLife, 648 F. Appx. at 615 (identifying a triable issue of

falsity where company emails contradicted defendant’s representations that its products were

“legal” and “DSHEA-compliant”).

       Likewise on the element of causation, as discussed above, the evidence in the summary

judgment record is sufficient to give rise to a jury question as to whether TNT suffered a

diversion of revenues due to Defendants’ representations and their influence on customer leasing

and consumer play. TNT’s “move tickets” reflect displacements by Torch devices. (Doc. 242-

19). TNT’s manager testified that Torch devices replaced TNT machines in several locations,

either immediately or within the next collection cycle. (Doc. 297 at 49). The manager of

Midwest Petroleum conceded that the facility removed TNT machines because Torch devices

were more profitable. (Doc. 226-6 at 19–20).




                                                 33
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25          Page: 34 of 42 PageID #:
                                            23713



       Given the present record and overall context, and viewing the evidence and reasonable

inferences in a light favorable to TNT, the Court cannot say that Defendants are entitled to

summary judgment on TNT’s false advertising claim. Nor will the Court invade the province of

the jury by granting TNT’s motion as to Defendants’ liability. Summary judgment is not proper

when the evidence is such that a reasonable jury could return a verdict for either party. Anderson,

477 U.S. at 248. The parties’ respective motions will be denied as to Count I.

       Unfair Competition under Missouri Common Law (Count II)

       When a commercial plaintiff asserts pendent state law claims under the Lanham Act, the

Eighth Circuit has noted that the pendent claims “are coextensive with the federal claims.”

DaimlerChrysler AG v. Bloom, 315 F.3d 932, 935 n.3 (8th Cir. 2003). “A claim for unfair

competition under Missouri law uses the same elements as a claim under the Lanham Act, so

courts faced with both claims discuss only the alleged violation of the Lanham Act.” Dental

Recycling, 2023 WL 6389071, at *3 (citing Children’s Factory, Inc. v. Benee’s Toys, Inc., 160

F.3d 489, 491 n.2 (8th Cir. 1998) (“Because the Missouri common law action utilizes the same

elements as an action under the Lanham Act, we need discuss only the alleged Lanham Act

violation.”) (cleaned up)). For the reasons discussed above, the parties’ motions will also be

denied as to Count II.

       RICO (Counts III-VI)

       Enacted to strengthen criminal and civil remedies against organized crime, the Racketeer

Influenced and Corrupt Organizations Act (RICO) provides a private right of action for any

person “injured in his business or property by reason of a violation of” the Act’s substantive

provisions. Dahlgren v. First Nat’l Bank of Holdrege, 533 F.3d 681, 689 (8th Cir. 2008) (citing

18 U.S.C. § 1964(c)). In pertinent part, “It shall be unlawful for any person employed by or



                                                34
Case: 4:23-cv-00330-JAR          Doc. #: 312 Filed: 03/28/25            Page: 35 of 42 PageID #:
                                            23714



associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C.

§ 1962(c). “Racketeering activity” includes gambling chargeable under state law and punishable

by imprisonment for more than one year, as well as wire and mail fraud. 18 U.S.C.

§ 1961(1)(A)–(B).

       Thus, to advance a civil RICO claim, a plaintiff must be able to prove that the defendant

committed a crime, i.e., a predicate act. Civil liability under RICO does not hinge on a

defendant’s conviction for the predicate racketeering acts. Sedima, S.P.R.L. v. Imrex Co., 473

U.S. 479, 493 (1985). However, RICO “does not cover all instances of wrongdoing. Rather, it is

a unique cause of action that is concerned with eradicating organized, long-term, habitual

criminal activity.” H & Q Properties, Inc. v. Doll, 793 F.3d 852, 855 (8th Cir. 2015). The Eighth

Circuit has repeatedly rejected attempts to convert ordinary civil disputes into RICO cases. Craig

Outdoor Advert., Inc. v. Viacom Outdoor, Inc., 528 F.3d 1001, 1029 (8th Cir. 2008).

       TNT asserts four claims against Defendants under RICO: conduct of a criminal enterprise

(Count III); use of proceeds of a criminal enterprise (Count IV); control of criminal enterprise

(Count V); and conspiracy to commit the foregoing (Count VI). The premise underlying each

count is that Defendants’ entire business promoting and operating Torch devices is illegal. In its

complaint, TNT alleges that Defendants have engaged in racketeering in the form of wire fraud

(18 U.S.C. § 1343), mail fraud (18 U.S.C. § 1341), interstate travel in furtherance of unlawful

activity (18 U.S.C. § 1952), and the operation of an illegal gambling business (18 U.S.C.

§ 1955). In their motion for summary judgment on these claims, Defendants argue inter alia that




                                                 35
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25           Page: 36 of 42 PageID #:
                                             23715



the record lacks evidence of a predicate act or criminal intent. The Court agrees, and this defect

is dispositive.

        Mail and wire fraud require a showing of a plan or scheme to defraud and an intent to

defraud. 18 U.S.C. §§ 1341, 1343; H & Q Properties, 793 F.3d at 856. “[T]he term ‘scheme to

defraud’ connotes some degree of planning by the perpetrator, [and] it is essential that the

evidence show [that] the defendant entertained an intent to defraud.” Id. Both mail and wire

fraud require “proof of intent to defraud, proof that the defendant willfully participated in a

scheme with knowledge of its fraudulent nature[,] and the intent to achieve illicit objectives.”

United States v. Hagen, 917 F.3d 668, 672 (8th Cir. 2019).

        Here, even if Defendants’ commercial representations could be found false or misleading

for purposes of Lanham Act liability, the Court finds the record devoid of evidence of criminal

mens rea, i.e., that Defendants willfully schemed and intended to criminally defraud customers

or consumers to achieve illicit objectives. RICO provides a private right of action for business

injury resulting from criminally indictable fraud. Bridge v. Phoenix Bond & Indem. Co., 553

U.S. 639, 647 (2008). But “RICO was not intended to apply to ordinary commercial fraud” even

viewing Defendants’ statements as such. In re Crop Inputs Antitrust Litig., 749 F. Supp. 3d 992,

1015 (E.D. Mo. 2024) (quoting Stonebridge Collection, Inc. v. Carmichael, 791 F.3d 811, 822

(8th Cir. 2015)). Anticompetitive conduct may be unacceptable, but it is not fraud. Lancaster

Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397, 406 (9th Cir. 1991).

        Likewise, § 1952 and § 1955 require evidence of a specific and willful intent to violate

state law. United States v. Stagman, 446 F.2d 489 (6th Cir. 1971). Given Defendants’ disregard

for state authorities, this may appear to be a closer call, but it is not. Again, while Defendants’

commercial representations are sufficiently contrary to regulatory reality to create a triable claim



                                                  36
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25            Page: 37 of 42 PageID #:
                                             23716



for false advertising, the evidence does not support the leap from Lanham to RICO permitting a

jury finding of racketeering. RICO imposes a much higher standard.

       For example, in Stagman, the defendant established a bingo operation in Kentucky after

local officials told him it was legal, though it was not. Id. at 490. The district court refused to

instruct the jury that attempted compliance with state law is a defense under the Travel Act

(§ 1952). Noting that other circuits including the Eighth Circuit require specific intent as an

element of the offense, the Sixth Circuit reversed, reasoning that the jury must find that the

defendant “intended with bad purpose” to violate state law. Id. at 494.

       Similarly, in United States v. Bala, 489 F.3d 334 (8th Cir. 2007), the owner of a betting

operation was convicted for violating a North Dakota law requiring the disbursement of proceeds

to charity, though the racing commission’s rules provided no clear definitions or procedures on

how and when to do so. The Eighth Circuit reversed because the government’s evidence fell

short of proving that the defendant never intended to comply. Id. 341. The court further

reasoned that, in close cases, the rule of lenity must favor the defendant. Id.

       Here, the evidence cannot support a jury finding of specific intent to violate state law

rising to the level of RICO liability. Defendants obtained an opinion letter – albeit from an

Illinois law firm – supporting their position that Torch devices are legal, and Defendants have

managed to persuade at least some elected officials not to pursue prosecution or legislation

against their interests. While these facts are not relevant to the false advertising analysis under

Coastal Abstract, which examines the guidance of state regulatory and judicial authorities, this

evidence of “plausible deniability” does effectively negate the element of specific criminal intent

under RICO, thus defeating TNT’s racketeering claims.

       The Court will grant summary judgment for Defendants on Counts III-VI.



                                                  37
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25           Page: 38 of 42 PageID #:
                                             23717



       Declaratory Relief (Count VII)

       In Count VII, TNT asks the Court to declare as a matter of law that Torch devices are

illegal gambling devices and slot machines. After careful consideration, the Court concludes that

a federal declaratory judgment would offend principles of comity, particularly insofar as a

declaration of state law is unnecessary to resolve TNT’s federal claims here.

       Federal courts have a “‘virtually unflagging obligation’ to decide cases that fall within

their jurisdiction.” Wassef v. Tibben, 68 F.4th 1083, 1086 (8th Cir. 2023) (quoting Colo. River

Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976)). Specific doctrines of

abstention create exceptions to this general rule. Federal abstention doctrines are not

jurisdictional. Hunter v. Page Cnty., 102 F.4th 853, 874 n.12 (8th Cir. 2024). If parties do not

raise them, federal courts have no duty to do so sua sponte. Id. But a court may raise the issue

sua sponte, Cincinnati Indem. Co. v. A & K Constr. Co., 542 F.3d 623, 625 (8th Cir. 2008), and

the Court must do so here.

       Wilton/Brillhart abstention refers to the district court’s discretion to dismiss a declaratory

judgment action. Wilton v. Seven Falls Co., 515 U.S. 277 (1995); Brillhart v. Excess Ins. Co. of

Am., 316 U.S. 491 (1942). Under the Declaratory Judgment Act, a district court may declare the

rights and other legal relations of any interested party seeking a declaration, but the court is

under no compulsion to do so. 28 U.S.C. § 2201(a); EMCASCO Ins. Co. v. Walker, 108 F.4th

634, 636 (8th Cir. 2024). “[D]istrict courts possess discretion in determining whether and when

to entertain an action under the Declaratory Judgment Act, even when the suit otherwise satisfies

subject matter jurisdictional prerequisites.” Lexington Ins. Co. v. Integrity Land Title Co., 721

F.3d 958, 967 (8th Cir. 2013) (quoting Wilton, 151 U.S. at 282). Where no parallel state action is




                                                  38
Case: 4:23-cv-00330-JAR             Doc. #: 312 Filed: 03/28/25               Page: 39 of 42 PageID #:
                                               23718



pending,31 the district court’s discretion is informed by a six-factor test: (1) whether declaratory

judgment will clarify and settle the legal relations at issue; (2) whether declaratory judgment will

resolve the uncertainty and controversy giving rise to the federal case; (3) the state’s interest in

having the issues decided in state courts; (4) whether the issues can more efficiently be resolved

in state court; (5) whether the federal action would result in unnecessary entanglement between

the federal and state court systems due to overlapping issues of fact or law; and (6) whether the

declaratory judgment action is being used merely as a device for “procedural fencing” in a race

for res judicata. Id. at 968 (citing Scottsdale Ins. Co. v. Detco Indus., Inc., 426 F.3d 994, 998

(8th Cir. 2005). Considering the foregoing factors, while the Court acknowledges the parties’

desire for a specific declaration as to the legality of Torch devices under Missouri law, such a

declaration is unnecessary to resolve TNT’s federal claims, and the Court firmly believes that

any such holding should issue from a Missouri appellate court given the importance of the state

interest at issue.

        Younger abstention requires federal courts to refrain from interfering with pending state

court criminal proceedings except under special circumstances such as a bad-faith prosecution or

when a criminal statute is patently unconstitutional. Wassef, 68 F.4th at 1086–87 (citing Younger

v. Harris, 401 U.S. 37, 41 (1971)). Again, while the Court understands TNT’s frustration with

the lack of progress in pending criminal cases, the Court must avoid influencing those

proceedings with its own declaration of a Missouri criminal statute and instead defers to the state

courts to interpret § 572.010 as applicable to the facts before them. “A private citizen lacks a

judicially cognizable interest in the prosecution or nonprosecution of another.” Pratt v. Helms,


31
        Suits are parallel if “substantially the same parties are litigating in state court substantially the
same issues” not governed by federal law. Lexington Ins. Co., 721 F.3d at 968. While the parties here
have been and still are involved in various state court lawsuits, TNT dismissed its parallel state case, and
no others involve the same parties.

                                                      39
Case: 4:23-cv-00330-JAR           Doc. #: 312 Filed: 03/28/25             Page: 40 of 42 PageID #:
                                             23719



73 F.4th 592, 594 (8th Cir. 2023).

        In earlier briefing (Doc. 211), TNT argued that the Court need not be constrained by

principles of comity because Missouri appellate courts recognize federal courts’ authority to

interpret state gambling statutes, citing People ex rel. Small v. Harrah’s N. Kan. City Corp., 24

S.W.3d 60 (Mo. App. W.D. 2000). This Court is not convinced that Small invites a federal

declaration here. That plaintiff filed his federal case first and only sought relief in state court a

year later. Id. at 61. It was proper that he should exhaust his case in the federal system rather than

be permitted to solicit a more favorable answer on a second bite in state court. Id. at 66 (“Under

Missouri law, no action for declaratory judgment will lie where an adequate alternative remedy

exists.”). Here, by contrast, the statewide political and procedural history of the parties’ dispute

is entirely different and far more complex, and it originated and continues in various state offices

and courts in Missouri.

        Additionally, TNT cites numerous cases where federal courts have interpreted state

gaming laws predicating RICO claims. (Doc. 211 at 4–5). But those cases involved simple

applications of law to facts and basic statutory construction. See e.g., Kemp v. Am. Tel. & Tel.

Co., 393 F.3d 1354, 1361 (11th Cir. 2004) (deeming phone charges a form of consideration to

play a game of chance by phone);32 United States v. Atiyeh, 402 F.3d 354, 370 (3d Cir. 2005)

(construing the interplay of multiple subsections of a statute); United States v. Tripp, 782 F.2d

38, 43 (6th Cir. 1986) (where defendant argued that rigged poker games were not gambling but

rather larceny by trick). These cases do not supply authority for this Court to insert itself into a




32
        In Kemp, the underlying trial record reflects that the district court submitted to the jury as
questions of fact whether AT&T’s “Let’s Make a Deal” game constituted illegal gambling as defined by
Georgia law. See Sikes et al. v. AT&T et al., Case No. 6:92-cv-00147-AAA-WLB, Doc. 370 and 372
(S.D. Ga.).

                                                   40
Case: 4:23-cv-00330-JAR            Doc. #: 312 Filed: 03/28/25             Page: 41 of 42 PageID #:
                                              23720



politically fraught state regulatory matter currently pending in multiple state trial courts,

particularly when TNT’s civil RICO claims are inviable.33

        For the foregoing reasons, the Court declines to exercise its equitable jurisdiction with

respect to Count VII and will dismiss that count.

                                           CONCLUSION

        Defendants’ unambiguous representations as to the legality of Torch devices are

sufficiently contrary to existing state regulatory and judicial guidance and the evidence in the

record to create triable issues of fact on TNT’s claims of false advertising under the Lanham Act

and Missouri common law. However, the evidence does not reflect the level of fraudulent intent

required to advance TNT’s RICO claims. And because a declaration of Missouri law is

unnecessary to disposition, and in the interest of comity, Court declines to exercise its equitable

jurisdiction with respect to Count VII.

        Accordingly,

        IT IS HEREBY ORDERED that Plaintiff’s motion for partial summary judgment is

DENIED. (Doc. 237).

        IT IS FURTHER ORDERED that Defendant’s motion for summary judgment is

DENIED as to Counts I and II and GRANTED as to Counts III through VI. (Doc. 224).

        IT IS FURTHER ORDERED that Count VII of Plaintiff’s complaint is DISMISSED.

        IT IS FURTHER ORDERED that Defendants’ motion to strike Plaintiff’s post-hearing



33
        The Court has also considered abstention under Burford v. Sun Oil Co., 319 U.S. 315 (1943),
which “applies when a state has established a complex regulatory scheme supervised by state courts and
serving important state interests, and when resolution of the case demands specialized knowledge and the
application of complicated state laws.” Doe v. McCulloch, 835 F.3d 785, 788 (8th Cir. 2016) (citing New
Orleans Pub. Serv., Inc. v. Council of City of New Orleans, 491 U.S. 350, 361 (1989)). Although
Missouri’s gaming regulations are complex as applied to licensed entities, the question presented in this
case does not require specialized knowledge or the application of complicated state laws.


                                                   41
Case: 4:23-cv-00330-JAR        Doc. #: 312 Filed: 03/28/25     Page: 42 of 42 PageID #:
                                          23721



brief is DENIED. (Doc. 307).

       IT IS FURTHER ORDERED that Defendant’s motion for sanctions is DENIED.

(Doc. 282).

       IT IS FINALLY ORDERED that the parties are directed to confer and submit within 14

days a proposed schedule for further proceedings.

       Dated this 28th day of March, 2025.


                                               ________________________________
                                               JOHN A. ROSS
                                               UNITED STATES DISTRICT JUDGE




                                              42
